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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 19-cr-20450-RNS

  UNITED STATES,

         Plaintiff,

  v.

  ALEX NAIN SAAB MORAN,

       Defendant.
  ________________________________/

       JOINT REQUEST TO SET AN EARLY DECEMBER (6TH OR 13TH-16TH) STATUS
                                  HEARING.

         The Defendant respectfully moves this Honorable Court to schedule an early

  December status hearing to discuss a reasonable timeline for these proceedings.

         A. Procedural Background

         1.      The Defendant was arrested on this indictment in Cape Verde on June 12,

  2020, extradited to the SDFL on Saturday, October 16, 2021, quarantined for several

  weeks at the FDC and arraigned on November 15, 2021. During quarantine, counsel

  could not meet with the Defendant. The Standing Discovery Order was entered the day

  of arraignment.

         2.      The Order Setting Trial Date, DE 72, was entered on November 16, 2021

         3.      Calendar Call in this case is scheduled for December 28, 2021, and trial is

  scheduled for the two-week calendar commencing January 3, 2022.

         4.      The interests of the efficient administration of justice would best be served

  if the parties could appear before your Honor in early December to discuss a practical

  schedule in this prosecution.

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        5.     A portion of this case is fully briefed and on direct appeal. The appellate

  court has jurisdiction on a dispositive issue, the question of diplomatic immunity. See,

  USA v. Alex Saab Moran, 21-11083-J, (11th Cir. Apr. 1, 2021). The Defendant is

  prepared to go forward with those proceedings as may be scheduled in the Court of

  Appeal or before your Honor.

        6.     The parties respectfully request a status conference be set for early

  December (the 6th or 13th-16th) to discuss scheduling.

        7.     The parties will propose deadlines for pre-trial motions and the parties will

  discuss the issue of Rule 15 depositions that may impact scheduling.

        Certificate of Conference

         8.    The undersigned counsel has addressed this motion with AUSA

  Lunkenheimer and Trial Attorney Kramer who have no objections to the relief requested.

               WHEREFORE, this motion is not filed for mere purposes of delay and

  Defendant respectfully prays that this Court set a status hearing for December.




                                          Respectfully submitted,

                                          s/Neil M. Schuster
                                          Neil M. Schuster

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                            CERTIFICATE OF CM/ECF SERVICE

         I HEREBY CERTIFY that on __November 22, 2021____, I presented the
  foregoing to the Clerk of the Court for filing and uploading to the CM/ECF system which
  will send a notice of electronic filing to all corresponding parties.


                                              By:    s/Neil M. Schuster
                                                     Neil M. Schuster




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